                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


  ANGEL DE JESUS ZEPEDA RIVAS, et                    Case No. 20-cv-02731-VC
  al.,
                 Plaintiffs,                         BAIL ORDER NO. 18
          v.                                         Re: Dkt. No. 79, 215

  DAVID JENNINGS, et al.,
                 Defendants.

       The bail requests from the following detainees are denied without prejudice:
           •   Gustavo Adolfo Peralta Iglesias
           •   Gustavo Archundia Garcia
           •   Selvin Rolando Hernandez Sumoza
       The bail requests from the following detainees are granted:
           •   Pravindar Singh
           •   Juan Carlos Soto Trejo
           •   Nelson Zelaya Alas AKA Nelson Arias
Bail is subject to the standard conditions of release stated at Dkt. 108. Mr. Singh’s bail is subject
to the condition that he is required to stay at home at all times except to receive medical or
mental health treatment. Mr. Soto’s bail is subject to the conditions that he is prohibited from
driving and prohibited from consuming alcohol, and there must also be no alcoholic beverages
anywhere in the residence where he will stay.
       IT IS SO ORDERED.

Dated: May 25, 2020
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge
